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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


IN RE:
BURTON WlAND
RECEIVERSHIP
CASES PENDING
IN THE TAMPA                             Case Nos.: 8:05-cv-1856-T-27MSS, et al.,
DIVISION OF THE
MIDDLE DISTRICT
OF FLORIDA

____________________________/

                        REPORT AND RECOMMENDATION

      THIS CAUSE comes before the Court on motions to dismiss filed on or before

August 17, 2006 (the “Motions”), by Defendants in fourteen of the approximately

eighty cases consolidated to the Undersigned by omnibus order.1 On August 17,

2006, the Court directed the Receiver to respond in an extended global response to

the Motions by September 15, 2006, and Defendants were given leave to reply.2

The remaining cases were stayed pending resolution of the Motions. On November

17, 2006, the Motions were considered on oral argument, at which time

supplemental authority was submitted for consideration by several of the parties.

The transcript of the hearing was filed on December 18, 2006.


      1

All pretrial matters in the cases were referred to the Undersigned for resolution by order
or by report and recommendation as dictated by law.
      2

The Receiver filed his responses to the motions to dismiss filed in Wiand v. Waxenberg,
8:05-cv-1856-T-27MSS, on April 17, 2006, and June 30, 2006.
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I.     STANDARD OF REVIEW

       The threshold for surviving a motion to dismiss for failure to state a claim

under Fed. R. Civ. P. 12(b)(6) is a low one. Quality Foods de Centro Am., S.A. v.

Latin Am. Agribusiness Dev. Corp., S.A., et al., 711 F.2d 989, 995 (11th Cir. 1983).

 Such a motion will not be granted unless it “appears beyond doubt that the plaintiff

can prove no set of facts in support of his claim which would entitle him to relief.” Id.

(citing Conley v. Gibson, 355 U.S. 41, 45-46 (1957)). In evaluating the sufficiency

of a complaint in light of a motion to dismiss, the pleaded facts must be accepted as

true and construed in the light most favorable to the plaintiff. Quality Foods, 711

F.2d at 994-95. However, the court should not assume that the plaintiff can prove

facts that were not alleged. Id. Further, conclusory allegations are not accepted as

true. Gersten v. Rundle, 833 F. Supp. 906, 910 (S.D. Fla. 1993)(citing Assoc.

Builders, Inc. v. Alabama Power Co., 505 F.2d 97, 100 (5th Cir. 1974)).3

       W hile the law favors resolution of cases on their merits after full litigation,

dismissal is mandated where the defendant can show that the law plainly precludes

the relief that is sought or precludes the plaintiff from obtaining the relief that is

sought: the former being preclusion based on the content of the law raised as


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Generally in conducting this analysis, the Court is also confined to the four corners of the
complaint and its incorporated exhibits. Brooks v. Blue Cross & Blue Shield of Fla., Inc.,
116 F.3d 1364, 1368 (11th Cir. 1997). The Court is permitted, however, to consider certain
documents referred to in the complaint by the plaintiff when those documents are central
to the plaintiff’s claim. Id. at 1369.


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grounds for the relief and the latter being preclusion due to the plaintiff’s standing as

the putative recipient of said relief. Even if the law permits the type of action to

proceed and permits the plaintiff to proceed, the complaint must allege sufficient

facts to place the defendant on notice of the claim being asserted and permit a

reasoned response. With respect to general allegations of liability this standard is

slight; however, where fraud is alleged, the underlying facts must be pled with

particularity and the complaint must include:

         (1) precisely what statements were made in what documents or
         oral representations or what omissions were made, and

         (2) the time and place of each statement and the person
         responsible for making, or not making, the same, and

         (3) the content of such statements and the manner in which they
         misled the plaintiff, and

         (4) what the defendants obtained as a consequence of the fraud.

Brooks, 116 F.3d at 1371.

      Finally, if an action is dismissed it should generally be dismissed without

prejudice unless it is so clearly established that the plaintiff cannot, with leave to

amend, cure the legal defects that warranted the dismissal. Stevens v. Premier

Cruises, Inc., 215 F.3d 1237, 1239-40 (11th Cir. 2000). A district court ordinarily

“must give a plaintiff one opportunity to amend the complaint and to cure the

pleading defect.” Id. Leave to amend, however, “need not be granted where

amendment would be futile.” Id.



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      To place these legal precepts in proper context in the cases underlying the

Motions addressed by this Report and Recommendation, a review of the facts, the

procedural history, the order of receivership and the substance of the counts of the

complaints is necessary.

II.   FACTUAL BACKGROUND AS ALLEGED

      Beginning in at least 1990 through May 2005, Howard W axenberg

(“W axenberg”) collected over $130 million by purporting to offer and sell securities

to approximately two hundred investors.4             In fact, through various entities

W axenberg established a classic “Ponzi” scheme.5 He pooled all of the investors’

funds into a common account held in the names of Howard W axenberg Trading,

LLC, HKW Trading, LLC, HKW Trading Fund I, LLC, Downing & Associates


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The “investors” in Waxenberg’s scheme consisted of individuals, couples and corporations.
The Undersigned will refer to these “investors” as either “investors,” “individuals” or
“victims” throughout this Report and Recommendation.
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          The expression ‘Ponzi scheme’ [describes] fraudulent investment plans
          in which funds taken from later investors are paid to early investors to
          create the false appearance that investment activities are generating
          high returns. The expression takes its name from Charles Ponzi, a
          famous Boston swindler. Beginning with just $150 in capital in late
          1919, Ponzi initiated an investment scheme in which he promised
          150% returns on 90-day promissory notes. Ponzi claimed that revenue
          from the notes would be used to finance profitable investments in the
          international trade of postal coupons. In fact, Ponzi never invested the
          funds at all and simply used revenues from new investors to pay off
          notes purchased by earlier investors, including himself. In only eight
          months, Ponzi had collected close to $10 million from the scheme.

Wolff v. Cash 4 Titles, 351 F.3d 1348, 1350 n.2 (11th Cir. 2003) (citing Cunningham v.
Brown, 265 U.S. 1, 7-9 (1924) (detailing Ponzi's fraud scheme)).

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Technical Analysis (n/k/a the Estate of Howard W axenberg) and the Estate of

Howard W axenberg (collectively referred to as the “Receivership Entities”). He

purported to charge the individuals a management fee and fraudulently represented

to them that their funds were being invested in options and futures that were

returning approximately 20% annually.

      W axenberg falsely represented to the individuals that their “investments” were

performing positively and had generated no losses. To support this assertion,

W axenberg regularly mailed fictitious statements and invoices to the victims that

illustrated the positive performance of their “investments.” These statements and

invoices also portrayed that the individuals were being paid “interest” based on the

high returns generated. In actuality, the distributions made to the victims did not

consist of any “interest” based on their returns, but were derived almost exclusively

from the capital contributions from new or existing victims. Aside from making

inducement distributions, W axenberg used the money he obtained to cover his

personal expenses.

      Between February 2005 and May 2005, Waxenberg, through the Receivership

Entities, began making payments to approximately sixty-three victims of his scheme,

including each Defendant in these cases. The other one hundred twenty-five victims

did not receive these payments. The amount the Receiver has alleged was received

by each Defendant and the alleged source of the payment is listed in Appendix A.

W axenberg committed suicide on May 15, 2005.


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III.   PROCEDURAL HISTORY

       Following W axenberg’s suicide, the Securities and Exchange Commission

(the “SEC”) began an investigation into W axenberg and the Receivership Entities.

As an outgrowth of that investigation, the SEC brought an enforcement action

against the Receivership Entities alleging against each of them violations of the

federal securities laws. The SEC simultaneously filed an ex parte emergency motion

for the appointment of a receiver to oversee the assets of Howard W axenberg

Trading, LLC, HKW Trading, LLC and HKW Trading Fund I, LLC.                 The Court

appointed Burton W iand as the Receiver for these three entities on June 9, 2005.

On September 13, 2005, the Court expanded the scope of the receivership to

include the Estate of Howard W axenberg and Downing & Associates Technical

Analysis. Under the terms of the Court’s orders appointing receiver, the Receiver

was to investigate the affairs of the Receivership Entities and institute actions and

legal proceedings,

         for the benefit and on behalf of the [Receivership Entities] and
         their investors and other creditors, as the Receiver deems
         necessary against those individuals, corporations, partnerships,
         associations and/or unincorporated organizations, which the
         Receiver may claim have wrongfully, illegally or otherwise
         misappropriated or transferred monies or other proceeds directly
         or indirectly traceable from investors in the [Receivership Entities]
         . . . provided such actions may involve, but not be limited to,
         seeking imposition of constructive trusts, disgorgement of profits,
         recovery and/or avoidance of fraudulent transfers under Florida
         Statute § 726.101, et seq., or otherwise, . . . and such orders from
         this Court as may be necessary to enforce this [o]rder.

SEC v. HKW Trading, LLC, et al, 8:05-cv-1076-T-24MSS, Dkt. 75 (M.D. Fla.

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February 22, 2006), http://ecf.flmd.circ11.dcn. (the “SEC action”)

      Subsequently, because the Receiver’s deadline to pursue certain claims was

about to expire, the SEC moved for reappointment of the Receiver. On February 22,

2006, the Court reappointed Burton W iand as the Receiver for all Receivership

Entities as dictated by the Court’s June 2005 and September 2005 orders. W ithin

ten days of the order reappointing receiver, copies of the complaint in the SEC

action and copies of the order reappointing receiver were filed in the United States

District Courts for the various districts where Defendants reside. On April 25, 2006,

on stipulation of the SEC and the Receiver on behalf of all of the Receivership

Entities, including the Estate of W axenberg, the Court entered an order of

permanent injunction against all of the Receivership Entities. HKW Trading, LLC,

8:05-cv-1076-T-24MSS, Dkt. 81.       Additionally, the Court dismissed the SEC’s

monetary claims for disgorgement and civil penalties with prejudice. Id.

IV.   THE RECEIVER’S COMPLAINTS

      Subsequent to the order reappointing receiver in February 2006, the Receiver

instituted approximately eighty actions against W axenberg’s former victims who

received money immediately prior to his death. In his complaints, the Receiver

seeks the return of any “inequitable distributions” these individuals received from

W axenberg and the Receivership Entities in the months preceding W axenberg’s

death. The Receiver contends these payments were made to the detriment of other

similarly situated victims who did not receive such payments. Upon return of the


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money to the Receivership Entities, the Receiver contends without specifics that he

will “equitably redistribute” the funds in an “appropriate manner.” The recovery

sought by the Receiver is detailed in Appendix B.

       Each complaint alleges virtually identical causes of action against each

Defendant.6 The Receiver’s complaints allege the following theories of liability:7

       1.     Fraudulent transfers under the Florida Uniform Fraudulent
              Transfers Act (“FUFTA”), Fla. Stat. § 726.101, et seq.

              i.     In his first claim for relief, the Receiver contends the transfers

                     from W axenberg and the Receivership Entities to Defendants

                     were inherently fraudulent because they were made as a part of

                     the Ponzi scheme. The Receiver contends W axenberg’s intent

                     in making the transfers was to “hinder, delay, or defraud the

                     creditors and/or investors of the Receivership Entities.”

              ii.    The Receiver alleges that the transfers were made without valid

                     consideration because the Receivership Entities did not receive

                     “reasonably equivalent value” from Defendants in exchange for

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Defendant Zelda Waxenberg is the widow of Howard Waxenberg. The Receiver asserts
a fourth claim for relief in the amended complaint filed in the case against Mrs. Waxenberg,
Wiand v. Waxenberg, 8:05-cv-1856-T-27MSS, Dkt. 20 (M.D. Fla. February 27, 2006),
http://ecf.flmd.circ11.dcn. The Receiver requests an “equitable accounting” to assist him
in discovering other potential transfers made to Mrs. Waxenberg and her Trust. The
Undersigned will address this issue in a separate report and recommendation.
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As virtually all complaints filed in these cases are identical, when quoting language from
the complaints, the Undersigned will refrain from citing to a specific complaint unless that
complaint presents a novel allegation.

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                   the transfer.

            iii.   Further, the Receiver alleges the Receivership Entities did not

                   directly or indirectly benefit from the transfers to Defendants as

                   the entities were insolvent throughout the course of the Ponzi

                   scheme.

      2.    Unjust Enrichment

            i.     This claim is asserted as an alternative assuming “the statutory

                   remedy in [FUFTA] Section 726, Florida Statutes (2006), does

                   not provide an adequate remedy at law.”

            ii.    The Receiver contends Defendants “knowingly and voluntarily”

                   accepted and retained a benefit of the funds of the Receivership

                   Entities. The Receiver contends Defendants’ retention of those

                   benefits is inequitable unless Defendants pay the Receiver the

                   value of the benefits received.

      3.    Disgorgement of Unlawful Profits

            i.     This claim is also asserted as an alternative assuming “the

                   statutory remedy in [FUFTA] Section 726, Florida Statutes

                   (2006), does not provide an adequate remedy at law.”

            ii.    The   Receiver    contends    Defendants     failed   to   provide

                   consideration for the monies transferred by W axenberg and the

                   Receivership Entities.    The Receiver contends the monies


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                    transferred to Defendants belonged to the Receivership Entities

                    and the other investors in the Receivership Entities and continue

                    to be wrongfully retained by Defendants. As such, the Receiver

                    contends the Receivership Entities are entitled to disgorgement

                    of those monies from Defendants.

 V.    THE MOTIONS

       Against this factual and procedural backdrop, Defendants each contend the

 complaints filed in these actions must be dismissed for the following reasons: (1) the

 Receiver lacks constitutional and prudential standing to pursue his FUFTA claim; (2)

 the Receiver failed to allege fraud under FUFTA with particularity in accordance with

 Fed. R. Civ. P. 9(b); (3) the Receiver failed to state a claim for unjust enrichment;

 and, (4) the Receiver cannot assert a claim for disgorgement of profits.8

       For the reasons that follow, the Undersigned REPORTS and RECOMMENDS

 that Defendants’ Motions be GRANTED.

 VI.   DISCUSSION

                                   Statutory Claim

       A.     Whether the Receiver Lacks Constitutional and Prudential
              Standing to Pursue His FUFTA Claim.

       Standing is a threshold issue that must be addressed at the onset of the

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 While some Defendants raise matters peculiar to their cases, each of the common issues
 raised by Defendants is addressed in this Report and Recommendation. All other bases
 for dismissal that have been raised will be addressed by a separate report and
 recommendation to be filed only in the case to which the separate issue(s) relate(s).

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 Court’s review of the Receiver’s claim. E.F. Hutton v. Hadley, 901 F.2d 979, 984

 (11th Cir. 1990).    To analyze whether a plaintiff has standing, the court must

 consider both the constitutional and prudential implications of the plaintiff’s claims.

 See Valley Forge Christian College v. Americans United for Separation of Church

 & State, 454 U.S. 464, 472 (1982). To satisfy the constitutional component of

 standing, the party asserting standing must establish (1) an actual or threatened

 injury, (2) that the injury is fairly traceable to the alleged unlawful conduct and (3)

 that the injury will likely be redressed by the relief requested. Hadley, 901 F.2d at

 984 (citing Valley Forge Christian College, 454 U.S. at 472). If the constitutional

 standing requirements are met, the court must next consider whether it is prudent

 to permit the claims to proceed as asserted. The three prudential considerations

 which will discourage judicial review of a claim include (1) the assertion of a third

 party’s rights, (2) allegation of a generalized grievance rather than an injury

 particular to the litigant and (3) assertion of an injury outside the zone of interests of

 the relevant statute or constitutional provision. Id. at 985.

       In their Motions, Defendants rely on Caplin v. Marine Midland Grace Trust Co.,

 406 U.S. 416 (1972) and Hadley to contend the Receiver lacks standing to pursue

 his claims standing in the shoes of the investors because the Receiver has not

 alleged the Receivership Entities suffered any injuries. Defendants contend the only

 injuries alleged are the injuries suffered by the victims who did not receive a payment

 from W axenberg and the entities and for whom W iand was not appointed receiver.


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 See Caplin, 406 U.S. at 416 (holding that a trustee of a corporation in reorganization

 did not have standing under the Bankruptcy Act to assert claims on behalf of

 debenture holders); Hadley, 901 F.2d at 979 (holding that a bankruptcy trustee did

 not have standing to assert tort claims on behalf of a portion of the customer

 creditors).9 Thus, the Receivership Entities are asserting injuries sustained by the

 individuals who did not receive a payment.

        Further, Defendants assert the Receivership Entities cannot redress any

 injuries as the complaints allege they perpetrated the scheme which they now seek

 to remedy. Thus, they acted in concert with or as the alter ego of W axenberg and

 are barred by the doctrine of in pari delicto. See O’Halloran v. First Union Nat’l Bank

 of Fla., 350 F.3d 1197, 1204 (11th Cir. 2003) (stating that a corporate entity that is

 merely the “alter ego” of the wrongdoer lacks standing to pursue claims for injuries

 resulting from a Ponzi scheme as the wrongdoer could not injure himself. However,

 the court noted that if the corporation possessed “a significant membership and a

 governing body” it cannot be said to be the wrongdoer’s alter ego); Freeman v. Dean

 W itter Reynolds, Inc., 865 So. 2d 543, 551 (Fla. 2d DCA 2003) (finding that in pari

 delicto barred a receiver’s claims when the corporation was created by the

 wrongdoer to “dupe the customers”).

        Additionally, Defendants contend the Receiver lacks standing because he


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 The Hadley court expressly limited its holding to the specific facts of that case. 901 F.2d
 at 985.

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 cannot meet the prerequisites for pursuing a claim under FUFTA. Specifically,

 Defendants contend the Receiver lacks standing under FUFTA because FUFTA

 provides recovery only for creditors. See Friedman v. Heart Institute of Port St.

 Lucie, 863 So. 2d 189, 192 (Fla. 2003).        Defendants assert, under the plain

 language of the statute and as interpreted by the Florida Supreme Court, there is no

 recovery under the statute for a debtor, a receiver, or any other person or entity who

 is not a creditor.

        In response to Defendants’ challenges to his standing, the Receiver relies

 principally on the language in the Court’s order, that he prepared and submitted ex

 parte, which reappointed him receiver. (Tr. 29) In his complaints, the Receiver

 contends the language he submitted in the order authorizes the action he has

 brought because it states that he could institute actions and legal proceedings,

          for the benefit and on behalf of the Receivership Entities and their
          investors and other creditors against individuals or entities which
          the Receiver claims have wrongfully or improperly received funds
          or other proceeds directly or indirectly traceable from investors in
          the Receivership Entities, including but not limited to actions
          seeking constructive trusts; disgorgement of profits; recovery and
          avoidance of fraudulent transfers under Florida Statute § 726.101,
          et seq., or otherwise.

 (Receiver’s Compl. (emphasis added)).

 Further, while acknowledging that a receiver acts on behalf of receivership entities

 rather than investors or creditors in those entities, the Receiver contends he has

 standing to bring ancillary actions to recover the Receivership Entities’ assets which

 were fraudulently transferred to investors in the W axenberg Ponzi scheme. (Pl. Br.

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 at 11)

          Next, the Receiver asserts that the doctrine of in pari delicto is inapplicable to

 the present case because once W axenberg was removed from control over the

 Receivership Entities, the entities were “cleansed” of their wrongdoing and entitled

 to sue to redress their injuries. See Scholes v. Lehmann (“Scholes”), 56 F.3d 750,

 754-55 (7th Cir. 1995). Further, the Receiver contends Defendants’ reliance on

 Caplin and Hadley is misplaced. In Caplin and Hadley, the courts resolved the

 question of whether a trustee in bankruptcy had standing to pursue claims on behalf

 of investors. The Receiver notes that the Eleventh Circuit has limited the application

 of Hadley to the specific facts of that case and at least one judge in the Middle

 District of Florida has concluded that because Caplin and Hadley arose in the

 context of bankruptcy those cases were not controlling precedent on the issue of the

 standing of an equity receiver. See Obermaier v. Arnett, No.2:02CV111FTM29DNF,

 2002 W L 31654535, at *3 (M.D. Fla. Nov. 20, 2002).

                i.     The Receiver’s Standing Generally

          As a preliminary matter, the Court rejects the Receiver’s assertion that the

 Court’s order appointing him receiver authorized him to pursue any and all claims

 on behalf of the Receivership Entities. The Court’s order could only have permitted

 the Receiver to pursue claims he was authorized to pursue under the United States

 Constitution and the applicable federal and state statutes. Specifically, the Court

 granted the Receiver the power to institute legal proceedings for the benefit of the


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 Receivership Entities, “their investors and other creditors.” HKW Trading, LLC, 8:05-

 cv-1076-T-24MSS, Dkt. 75. On close reading, it did not authorize specific causes

 of action; rather it provided that “such actions may involve, but not be limited to,

 seeking imposition of constructive trusts, disgorgement of profits, recovery and/or

 avoidance of fraudulent transfers under Florida Statute § 726.101, et seq., or

 otherwise.” Id. (emphasis added). As the Receiver conceded at the hearing, the

 Court did not purport to confer standing on the Receiver which would be contrary to

 constitutional and statutory law.          (Tr. 75-76); See Scholes v. Schroeder

 (“Schroeder”), 744 F. Supp. 1419, 1421 (N.D. Ill. 1990) (stating that “the appointment

 of a receiver is inherently limited by the jurisdictional constraints of Article III and all

 other curbs on federal court jurisdiction”).           Conformance with the specific

 requirements of the law underlying the distinct claims asserted is required before the

 Court may permit the action to proceed. For example, if the Receiver sought to bring

 a Title VII action or sought to pursue a claim barred by an applicable statute of

 limitations, the existence of the order appointing him receiver and authorizing him

 to pursue ancillary claims would not remove the prerequisites or barriers to the

 actions sought to be asserted. If the action the Receiver attempts to assert does not

 conform to the requirements of the law, it cannot be sustained on the basis of the

 existence of the order.

        Similarly, the Court rejects the Receiver’s argument that his standing to bring

 this action under FUFTA is expressly authorized by his general power to “bring


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 ancillary actions to recover assets which were fraudulently transferred to investors

 in a Ponzi scheme.” Obermaier, 2002 W L 31654535, at *3 (citing Commodity

 Futures Trading Commission v. American Commodity Group Corp., 753 F.2d 862,

 866 n.6 (11th Cir. 1984) and Commodity Futures Trading Commission v. Chilcott

 Portfolio Mgmt, Inc., et al., 713 F.2d 1477 (10th Cir. 1983)). In each cited case, the

 courts acknowledged a receiver’s right to bring claims on behalf of receivership

 entities, a right which is undisputed in this case. A receiver’s actions, however,

 cannot be sustained unless the receiver meets the statutory and constitutional

 prerequisites to pursue such “ancillary actions” for the benefit of the receivership

 entities. Neither case cited by the court in Obermaier addressed the right to bring

 a FUFTA claim, the question presented here, nor did they excuse the Receiver from

 the duty to plead and prove each element of the claims asserted pursuant to this

 ancillary authority. Having the power to initiate suit is a separate issue from having

 standing to pursue the claims or the ability to meet the required proof. See Chilcott

 Portfolio Mgmt, Inc., 713 F.2d at 1482-83. Thus, the Court must evaluate separately

 the Receiver’s standing to pursue his FUFTA claim.

              ii.   The Receiver’s FUFTA Claim

       The Florida Uniform Fraudulent Transfers Act was promulgated to prevent an

 insolvent debtor from transferring assets out of the reach of its creditors when the

 debtor’s intent is to hinder, delay, or defraud any of its creditors. See Fla. Stat. §

 726.105(1) (2006). Put simply, if a creditor has a claim, has brought a claim or


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 evinced an intent to bring a claim, the debtor cannot vitiate the claim by secreting

 assets available to satisfy the claim. Thus, the statute provides that any transfer

 made or obligation incurred by a debtor is fraudulent as to a creditor if the debtor

 made the transfer or incurred the obligation to hinder or defraud the creditor or

 without receiving “reasonably equivalent value in exchange for the transfer or

 obligation.” Fla. Stat. § 726.105(1). Pursuant to the statute, for a cause of action to

 exist the creditor-plaintiff must allege (1) there was a creditor sought to be

 defrauded, (2) a debtor intending fraud, and (3) a conveyance of property which

 could have been available to satisfy the debt due. Nationsbank, N.A. v. Coastal

 Utils. Inc., 814 So. 2d 1227, 1229 (Fla. 4th DCA 2002) (citing Huntsman Packaging

 Corp. v. Kerry Packaging Corp., 992 F.Supp. 1439, 1446 (M.D. Fla. 1998)). In

 Friedman v. Heart Institute of Port St. Lucie, the Florida Supreme Court defined a

 creditor as one who possesses a “claim” under FUFTA and, thus, may seek a variety

 of remedies to prevent the fraudulent transfer of assets. 863 So. 2d at 191. A

 “claim” means a right to payment, whether or not it is reduced to judgment. Id. The

 court, based on the plain language of the statute, stated that a plaintiff suing under

 FUFTA must show he has a “claim” which qualifies him as a “creditor” of the entity

 or individual who is transferring or attempting to transfer funds to thwart the creditors’

 attachment. Id.; Fla. Sta. § 726.105(1).

       In this regard, Florida’s Second District Court of Appeals has held that an

 equity receiver may not pursue claims that are owned by creditors of the receivership


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 entities. See Freeman, 865 So. 2d at 550. In Freeman, the court stated that in such

 ancillary actions an equity receiver can bring actions previously owned by the entities

 in receivership, he cannot pursue claims owned directly by the creditors of the

 entities. Id. As the court explained, “[a]lthough a receivership is typically created to

 protect the rights of creditors, the receiver is not the class representative for creditors

 and receives no general assignment of rights from the creditors.” Id. (emphasis

 added). Significantly, the Receiver acknowledged at the hearing that he was not

 delegated any authority by the victims, which include Defendants in these cases,10

 to pursue claims for their benefit. (Tr. 100)

        It is, of course, commonplace for bankruptcy trustees/receivers to pursue

 claims under various states’ Uniform Fraudulent Transfer Acts. See In re Schaefer,

 331 B.R. 401, 415-223 (Bankr. N.D. Iowa 2005) (finding that a bankruptcy trustee

 suing a corporation could avoid fraudulent real property transfers made by the

 corporate principals to the corporation under the Bankruptcy Code and Iowa’s

 UFTA); In re Emerson, 244 B.R. 1, 38-40 (Bankr. D.N.H. 1999) (finding that a

 bankruptcy trustee suing the transferee could avoid fraudulent transfers made by the

 debtor-transferor under the Bankruptcy Code and New Hampshire’s UFTA). This

 authority is expressly granted in 11 U.S.C. § 544 which gives bankruptcy trustees



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 The Receiver contends he is pursuing these actions to recover “assets” of the Receivership
 Entities in order to equitably redistribute the funds among all of the investors, including
 Defendants.

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 status as judicial lien creditors over the assets of the estates over which they preside

 and preempts state statutes to the contrary.11            Congress did not grant similar

 authority in the statute relied upon by the SEC for the appointment of the Receiver.

 See HKW Trading, LLC, 8:05-cv-1076-T-24MSS, Dkt. 5 (citing 15 U.S.C. § 77v(a)

 (2006)). Thus, no such common law or statutory “creditor” status is conferred upon

 SEC equity receivers.        Rather, their status under FUFTA is defined by their

 relationship to the transferor.

        Paramount to the issue of whether the Receiver has standing to pursue his

 FUFTA claim, then, is the need to clarify in whose shoes the Receiver purports to

 stand. In the complaints, the Receiver states that he brings the action “on behalf of

 the Receivership Entities and their investors to recover the distribution(s) made to

 the Defendants.” (emphasis added) In his global response to the Motions, however,

 the Receiver acknowledged that he does not have authority to redress injuries on

 behalf of the investors, who are actual or potential creditors of the Receivership

 Entities. (Pl. Br. at 11) Because the Receiver has conceded that he is not standing

 in the shoes of the defrauded investors, the Court need not address whether Hadley

 or Caplin, both of which were decided in the context of bankruptcy, are controlling

 precedent on the issue of whether an equity receiver has standing to pursue claims



        11

 Even with this statutory grant of authority to pursue such claims “on behalf of creditors,” the
 bankruptcy trustee’s ability to pursue claims directly owned by creditors has been
 challenged. See Feltman v. Prudential Bache Sec., 122 B.R. 466 (Bankr. S.D. Fla. 1990).

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 on behalf of investors.

       The Receiver’s only legal authority for his assertion that he may, as a receiver

 for the Receivership Entities, pursue a claim under FUFTA, are the Seventh Circuit’s

 decision in Scholes and the court’s decision in Obermaier. In Scholes, the corporate

 principal, Michael Douglas, operated a Ponzi scheme using three of his corporations.

 56 F.3d at 752. The receiver appointed to represent Douglas and the corporate

 entities brought suit on behalf of the under the Illinois law of fraudulent conveyances

 as it stood in 1989 seeking to recoup money transferred in the course of the Ponzi

 scheme from Douglas’ corporations to one victim who received more than his initial

 contribution, Douglas’ ex-wife and six religious corporate entities. Id. at 753. The

 Seventh Circuit determined that the receiver had standing to bring suit against the

 defendants under the statute.

       In Obermaier, David Mobley, Sr. orchestrated a Ponzi scheme through twelve

 corporate entities which derived their income from the Ponzi scheme. 2002 WL

 31654535, at *1. The receiver, Obermaier, brought an action under FUFTA on

 behalf of the receivership entities against investors in the entities who received “false

 profits” from Mobley. Id. at *2. In the complaint, the receiver alleged that Mobley

 was the active perpetrator of the fraud. Id. After a general statement that “[t]he facts

 which are pled in the [c]omplaint . . . adequately allege causes of action under

 Florida law which can be prosecuted by the [r]eceivership [e]ntities,” the court

 concluded that the receiver had standing to pursue a claim under FUFTA. Id. at 4.


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        Scholes, having been decided by the Seventh Circuit, is not binding authority

 in this Circuit.   In any event, the Court finds Scholes and its progeny to be

 distinguishable from the instant case because, among other reasons, the Scholes

 court analyzed the receiver’s standing to pursue a fraudulent transfer claim under

 the Illinois law of fraudulent conveyances, Ill. Rev. Stat. ch. 59, ¶ 4 (1987), which

 predated the Illinois Uniform Fraudulent Transfers Act, 740 ILCS 160. The 1989

 version of the Illinois law provided that “‘every gift . . . or transfer . . . made with the

 intent to disturb, delay, hinder or defraud creditors or other persons . . . shall be void

 as against such creditors . . . and other persons.’” Scholes, 56 F.3d at 753 (quoting

 Ill. Rev. Stat. ch. 59, ¶ 4 (1987)) (emphasis added); See Stenger v. W orld Harvest

 Church, Inc., No. Civ. A.1:04CV00151-RW , 2006 W L 870310, at *4 n.6 (N.D. Ga.

 March 31, 2006) (stating that the “and others” language in Georgia’s fraudulent

 conveyance statute, O.C.G.A. § 18-2-22 (repealed 2002), precluded any argument

 that suit under the statute may be brought only by “creditors”). The statute at issue

 in the instant case, FUFTA, does not include the broad language permitting standing

 to other persons. FUFTA provides that:

          [a] transfer made or obligation incurred by a debtor is fraudulent
          as to a creditor, . . . if the debtor made the transfer or incurred the
          obligation . . . [w]ith actual intent to hinder, delay, or defraud any
          creditor of the debtor; or . . . [w]ithout receiving a reasonably
          equivalent value in exchange for the transfer or obligation . . . .

 Fla. Stat. § 726.105(1) (2006) (emphasis added).

        Simply put, the Florida Supreme Court has made clear that the Florida statute


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 provides relief only to creditors of the debtor-transferor. See Friedman, 863 So. 2d

 at 191; Fla. Stat. § 726.108 (2006); See also Freeman v. First Union Nat’l Bank, 865

 So. 2d. 1272, 1277 (Fla. 2004) (refusing to expand FUFTA beyond the plain

 language of the statute to create a cause of action against non-transferee aiders and

 abettors of fraudulent transfers). As discussed supra, creditors are those persons

 or entities who have claims against W axenberg and the Receivership Entities, the

 recovery of which has been hindered by the disbursement of funds via fraudulent

 transfers.

       In the case sub judice, the debtor-transferors are alleged to be W axenberg

 and the Receivership Entities as they are claimed by the Receiver to have

 fraudulently conveyed funds to others. Consistent with Friedman, then, in order to

 utilize the protections of FUFTA the Receiver would have to allege that he, as

 receiver for the Receivership Entities, is a creditor or has a claim against these

 debtor-transferors. In this regard, at the onset of the hearing on the Motions, the

 Receiver conceded categorically that neither he nor the Receivership Entities are

 creditors. (Tr. 9-10) At the end of the hearing, the Receiver attempted to retract that

 concession, suggesting that the Court broadly construe the term “creditor.” (Tr. 79)

 The Receiver, however, failed to provide the Court with any legal authority to support

 a broader interpretation of the term “creditor” than provided in Friedman to permit the

 recovery of funds under FUFTA by anyone other than one who has a claim against

 the debtor-transferor. See Dillon v. Axxsys Int’l, Inc., 185 Fed. Appx. 823, 829-30


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 (11th Cir. 2006) (acknowledging that the term creditor is extremely broad but

 recognizing that it is nevertheless limited to persons with claims against the debtor-

 transferors).

       Further, while the court in Obermaier permitted the receiver to pursue a claim

 under FUFTA, the court made that determination without addressing the status of

 the receiver as a creditor. However, the receiver in Obermaier claimed, without

 challenge, that he was the creditor of the wrongdoer. Thus, if the Receiver relies on

 Obermaier to suggest that creditor status is unnecessary to pursue a FUFTA claim,

 that suggestion is incorrect. Even if Obermaier could be interpreted in such a way,

 it is distinguishable from the instant case because it was decided prior to the Florida

 Supreme Court’s definitive decision in Freidman specifically limiting recovery under

 FUFTA to creditors of a fraudulent transferor.

       Here, the Receiver has not alleged that he is a creditor of the debtor-

 transferors and does not assert any further basis for proceeding under FUFTA.

 Significantly, the Receiver represents all of the Receivership Entities, including the

 W axenberg estate; moreover, the same law firm represents all of the same

 Receivership Entities. This would seem to suggest that neither of the Receivership

 Entities would have a claim against the other. Additionally, the Receiver cannot

 claim to be a creditor via the SEC. As noted supra, the Court has dismissed the

 SEC’s claims for monetary recovery against all of the Receivership Entities. The

 Undersigned, therefore, finds that the Receiver lacks standing under FUFTA as pled.


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       Accordingly, the Undersigned REPORTS and RECOMMENDS that Count I

 be DISMISSED.

       B.     Pleading Fraud with Particularity, Fed. R. Civ. P. 9(b)

       Certain Defendants contend the Receiver’s complaints should be dismissed

 for his failure to plead his FUFTA claim with particularity. To the extent the Receiver

 intends to assert any fraud claim in his amended complaints, he is reminded that

 such a claim must be pled with particularity as discussed supra and as required by

 Fed. R. Civ. P. 9(b). W hile a Ponzi scheme is deemed fraudulent as a matter of law

 In re 21st Century Satellite Commc’n, Inc., 278 B.R. 577, 584 (Bankr. M.D. Fla.

 2002) (stating that Ponzi schemes are inherently fraudulent ab initio), if any fraud is

 alleged against Defendants, who are admittedly not perpetrators of the Ponzi

 scheme fraud, it must be alleged with particularity.12

       C.     Statute of Limitations, Fla. Stat. § 726.110.

       Some Defendants further contend the Receiver’s claims are time barred under

 FUFTA. The statute of limitations governing the Receiver’s FUFTA claim varies

 depending on which statute he is asserting. See Fla. Stat. § 726.110. As the

 Receiver has failed to identify specifically in his complaints the provision(s) of

 FUFTA under which he is proceeding, the Court cannot address the statute of



       12

 Other Defendants do not concede that Waxenberg and the entities’ actions constituted a
 Ponzi scheme. For the purposes of this Order, the Court will accept the Receiver’s
 allegation that Waxenberg and the entities’ conduct was a Ponzi scheme.

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 limitations argument on these Motions. Thus, the Court will construe the statute of

 limitations argument as a motion for a more definite statement. Should he elect to

 reassert these claims, the Receiver should be directed to identify in any amended

 complaints (1) the specific transactions he is relying upon, including the date of the

 transactions and the source of payment, (2) the remedy he seeks and (3) the

 statutory basis for relief. Any additional arguments raised in Defendants’ Motions

 related to the Receiver’s FUFTA claims will not be addressed as the Court finds the

 Receiver lacks standing to pursue those claims as alleged.

                                  Equitable Claims

       A.     Whether the Receive May Pursue His Unjust Enrichment Claim.

              i.    The Receiver’s Standing

       As an alternative to his FUFTA claim, the Receiver demands recovery under

 an unjust enrichment claim. The Court must determine, therefore, whether the

 Receiver may accomplish in equity what he cannot accomplish at law.

       The first inquiry regarding the Receiver’s unjust enrichment claim is whether

 he has standing to pursue the claim. As stated above, when analyzing whether a

 plaintiff has standing, the court must evaluate both the constitutional and prudential

 implications of the plaintiff’s claims. See Valley Forge Christian College, 454 U.S.

 at 472 (1982). The Eleventh Circuit has determined that a corporate entity involved

 in a Ponzi scheme lacks standing to pursue claims against a third party where there

 is an “absolute identity of interests” between the wrongdoing principal and the

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 corporation. See O’Halloran, 350 F.3d at 1204 (stating that a corporate entity that

 is merely the “alter ego” of the wrongdoer lacks standing to pursue claims for alleged

 injuries which resulted from a Ponzi scheme); Troelstrup v. Index Futures Group,

 Inc., 130 F.3d 1274, 1277-78 (7th Cir. 1997) (differentiating cases like Scholes

 where there were entities with legal rights from cases where the enterprise has no

 legal identity apart from the defrauding party. The court found the receiver did not

 have standing to sue on behalf of the non-corporate enterprise with no identity

 distinct from the perpetrator.); Feltman, 122 B.R. at 473-74 (stating that “since the

 corporations were essentially only conduits for stolen money, any injury to the

 debtors . . . must be substantially coterminous with the injury to the defrauded

 investors . . . . Thus, any alleged injury to the debtors is as illusory as was their

 corporate identity”).

       Here, the Receiver has conceded that the Estate of Howard W axenberg is the

 only remaining embodiment of W axenberg himself and “perhaps the case should be

 dismissed as to . . . the Estate of Howard W axenberg.” (Tr. 106) Additionally, he

 has all but conceded that Downing & Associates Technical Analysis (n/k/a the Estate

 of Howard W axenberg) was simply the “alter ego” of W axenberg in that it did not

 have a controlling body or shareholders beyond Waxenberg. At the hearing, the

 Receiver stated “the Downing party was a d/b/a and of course . . . would not be

 separate and distinct” from W axenberg. (Tr. 20) Thus, certainly neither the Estate

 of Howard W axenberg nor Downing & Associates would be able to assert a claim


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 against any of the victims of the scheme. Accordingly, the Undersigned REPORTS

 and RECOMMENDS that the claims brought on behalf of the Estate of Howard

 W axenberg and Downing & Associates Technical Analysis (n/k/a the Estate of

 Howard W axenberg) against Defendants be DISMISSED with prejudice.

              ii.    The Receiver’s Unjust Enrichment Claim

       The Court must next determine whether the Receiver has stated a claim for

 unjust enrichment as pled on behalf of the remaining Receivership Entities. The

 rights of receivers pursuing state law claims are determined by reference to state

 law. See Knauer v. Jonathon Roberts Fin. Group, 348 F.3d 230, 235 (7th Cir. 2003)

 (citing O’Melveny & Myers v. FDIC, 512 U.S. 79, 83, 88 (1994)). Under Florida law,

 a plaintiff states a claim for unjust enrichment when there has been (1) a benefit

 conferred upon the defendant by the plaintiff, (2) appreciation by the defendant of

 such benefit, and (3) acceptance and retention of such benefit by the defendant

 under such circumstances that it would be inequitable for him to retain it without

 paying the value thereof. Hercules, Inc. v. Pages, 814 F. Supp. 79, 80 (M.D. Fla.

 1993) (citing Henry M. Butler, Inc. v. Trizec Properties, Inc. 524 So. 2d 710, 712 (Fla.

 2d DCA 1988)). It is axiomatic that there must be a benefit conferred before unjust

 enrichment exists. Henry M. Butler, Inc., 524 So. 2d at 712.

       Under an unjust enrichment theory, the Receiver must allege some benefit to

 Defendants which, if retained, would be inequitable.           To that end, it would

 presumably be inequitable, in most circumstances, for Defendants to retain money

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 which did not belong to them. Here, however, Defendants correctly point out that the

 Receiver has failed to allege in the complaints whether Defendants received some

 amount in excess of the losses they sustained in this fraudulent Ponzi scheme. The

 Receiver has simply alleged in his complaints that Defendants received their “return

 of principal” in the final distribution made prior to W axenberg’s death.13 “Principal”

 presumably refers to the initial losses Defendants sustained as a result of being

 victims of the fraud.

         In his global response to the Motions, but not in any allegation in the

 complaints, the Receiver has stated he is seeking “false gains” and has provided

 more detailed information on the payments made to Defendants. See App. C.

 Based on this submission, it appears that the Receiver is seeking to recover more

 than the “false gains” certain Defendants received from the Receivership Entities.

 In some instances, he appears to be seeking recovery from Defendants who

 suffered a loss or who “broke even,” that is received no more than the initial fraud

 loss.    Even the Receiver’s primary legal authority rejects a recovery in such



         13

 The Receiver does not allege that Mrs. Waxenberg received a “return of principal”
 payment. Instead, the Receiver contends Mrs. Waxenberg received “significant
 distributions” from Waxenberg and the Receivership Entities as Howard Waxenberg’s wife
 and as an investor. The Receiver has incorporated a spreadsheet entitled “Checks Written
 to Zelda Waxenberg from all Waxenberg Entities” into his amended complaint in her case.
 According to that spreadsheet, Mrs. Waxenberg’s payments began on February 4, 1999,
 and continued until May 13, 2005. The spreadsheet does not provide any detail on the
 source of the payments over this time period. The Receiver did not incorporate a similar
 spreadsheet in the other Defendants’ cases presently before the Court on their Motions.

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 instances. See Scholes, 56 F.3d at 757-58. The Scholes court determined under

 the broader Illinois fraudulent conveyance act that the defendant investor/victim was

 only required to return “the difference between what he put in at the beginning and

 what he had at the end.” Id. The Receiver offers no legal authority to support his

 claimed entitlement to recover anything beyond such excess payments. In any

 event, the Receiver has failed to include sufficient detail in the complaints to apprise

 Defendants of their alleged “unjust enrichment” or to meet this threshold

 requirement.14 As stated above, the complaints simply state Defendants received

 a return of their principal payment or Ponzi scheme loss, which, by definition, is not

 unjust.15 For this reason, the claim for unjust enrichment should be dismissed.

               iii.   In Pari Delicto

        Likewise, as pled, the Receiver’s equitable claim for unjust enrichment is

 barred by the doctrine of in pari delicto.16 Under the doctrine of in pari delicto, a


        14

 See also World Harvest Church, Inc., 2006 WL 870310, at *3 (stating on summary
 judgment that the facts surrounding a fraudulent conveyance to the defendants did not “fit
 neatly into the unjust enrichment theory” where there was clearly no expectation that the
 conveyance would be returned for value).
        15

 Interestingly, the payment information provided by the Receiver in Appendix C shows that
 certain Defendants are being asked to return an amount equivalent to their initial
 contributions despite having allegedly received payments in excess of their initial
 contributions.
        16

 The Latin phrase “in pari delicto” means “of equal fault.” Perma Life Mufflers, Inc. v. Int’l
 Parts Corp., 392 U.S. 134, 135 (1968); Knauer v. Jonathon Roberts Fin. Group (“Jonathon
 Roberts Fin. Group”), No.01-1168-C-K/T, 2002 WL 31431484, at *7 (S.D. Ind. Sept. 30,

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 plaintiff who has participated in the wrongdoing may not recover damages resulting

 from the wrongdoing. Edwards, 437 F.3d at 1152. Again, whether the defense of

 in pari delicto applies against the Receiver in this case is resolved by reference to

 Florida law. As a general rule in Florida, the receiver steps into the shoes of the

 corporation, individual or estate whose interests he was appointed to protect and

 therefore takes the rights, causes and remedies that were available to the entity he

 was chosen to represent. Hamilton v. Flowers, 134 Fla. 328, 343 (1938); Fla. R. Civ.

 P. 1.620 (2007); See also 16 Fletcher Cyc. Corp. § 7852.10 (2006) (stating that “any

 claim brought by a receiver is subject to the same defenses that could have been

 raised in a suit by the corporation”).

        Attempting to avoid the in pari delicto defense, the Receiver relies on the

 Freeman decision which, citing Scholes, stated that defenses such as unclean

 hands and in pari delicto may not always apply against a receiver even though such

 defenses might have applied to the receivership entities outside of the receivership.

 865 So. 2d at 550. The court, however, distinguished fraudulent conveyance cases

 in which the receivership entities, or legally distinct entities, may be “cleansed” of the

 wrongdoing of their principal (i.e., Scholes) from tort cases in which the corporations


 2002). The doctrine is premised upon the equitable principle that “‘[n]o [c]ourt will lend its
 aid to a man who founds his cause of action upon an immoral or illegal act.’” Jonathon
 Roberts Fin. Group, 2002 WL 31431484, at *7 (quoting In re Dow, 132 B.R. 853,860
 (Bankr. S.D. Ohio 1991)). Under the doctrine, a plaintiff may not maintain a claim against
 a defendant if the plaintiff bears equal or greater fault for the claim asserted. Jonathon
 Roberts Fin. Group, 2002 WL 31431484, at *7; See also Official Committee of Unsecured
 Creditors of PSA, Inc. v. Edwards (“Edwards”), 437 F.3d 1145, 1152 (11th Cir. 2006).

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 were deemed “sham corporations” with no distinct identity from their principal (i.e.,

 Feltman). Id. at 550-51. In an attempt to reconcile the cases, the Freeman court

 stated that as a general rule “when the entities in receivership do not include a

 corporation that has at least one honest member of the board of directors or an

 innocent stockholder, we do not perceive a method to separate the fraud and

 intentional torts of the insiders from those of the corporation itself.” 865 So. 2d at

 551.

        W hether this reconciliation was necessary in a non-fraudulent conveyance

 case, such as Freeman, is questionable as the Seventh Circuit had previously

 limited its “cleansing of corporate zombies”17 analysis in Scholes to cases arising

 under the Illinois fraudulent conveyance statute. See Knauer, 348 F.3d at 236 aff’g

 2002 WL 31431484, at *10.        Further, the only Eleventh Circuit case that has

 discussed the Scholes decision on this point is Edwards in which the court rejected

 a bankruptcy trustee’s reliance on Scholes outside the context of a fraudulent

 conveyance action and found that the defense of in pari delicto may apply against

 a bankruptcy trustee. 437 F.3d at 1151-52. The court, following the unanimous lead

 of all circuits addressing the issue, concluded that “in pari delicto applies with equal

 force to a trustee-in-bankruptcy as a debtor outside of bankruptcy.” Id. at 1151

 (citations omitted).


        17

 See Freeman 865 So.2d at 550 (capsulizing the “cleansing of corporate zombies” theory
 espoused in Scholes.

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       Here, the Receiver has offered no reasoned bases for providing greater

 protection to federal equity receivers in this context than would be provided for

 bankruptcy trustees, and the Undersigned can conceive of none.               The policy

 arguments advanced by the Receiver are the same as those considered and

 rejected by the courts in Freeman and Edwards (i.e., the involuntary status of the

 receiver, “more money” in the receivership furthers the underlying policy of the

 statute establishing the receivership, avoiding windfall to the defendants, etc.). As

 such, the Undersigned finds that the doctrine of in pari delicto is available against the

 Receiver in these cases.

       The Undersigned also finds that the “cleansing of corporate zombies” analysis

 in Scholes, if viable at all, should only be viable in the context of an action involving

 fraudulent conveyances, i.e., FUFTA. As the Eleventh Circuit explained, “fraudulent

 conveyances are an exception to the general rule that the trustee takes the debtor

 estate as it is at the commencement of the bankruptcy.” Edwards, 437 F.3d at 1151-

 52 (citing bankruptcy statutes). In any event, whether the doctrine applies outright

 or applies subject to the “cleansing,” which occurs under Florida law, according to

 Freeman, only when the corporation has at least one honest member of the board

 of directors or an innocent shareholder, is inconsequential in these cases as the final

 result would remain the same.

       As stated by the Freeman court, even though the entities may be cleansed by

 the receivership in some instances, the receivership “cannot alter historical facts.”


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 865 So.2d at 551. The facts in these complaints and the complaint filed in the SEC

 action clearly allege that the Receivership Entities were the perpetrators of the fraud

 and in concert with each other. As stated above, the Receiver has alleged 18 that

 W axenberg collected over $130 million by offering and selling securities to

 approximately two hundred investors as part of his Ponzi scheme. (Receiver’s

 Compl. ¶ 11) According to the complaints, he then pooled the investor/victims’

 principal funds into common accounts held in the name of the Receivership Entities.

 (Receiver’s. Compl. ¶ 12) Further, the Receivership Entities derived their assets

 from the investors’ funds and had little, if any, additional income. (Receiver’s Compl.

 ¶ 12)

         Similarly, the SEC has alleged that W axenberg owned, controlled and was the

 sole manager of the Receivership Entities (the “Defendants”). (SEC Compl. ¶ 1, 5,

 8, 9)19 HKW Trading, LLC managed and controlled HKW Trading Fund I, LLC. (SEC

         18

 Citing the complaint filed in Wiand v. Abraham, 8:06-cv-609-T-23MSS, Dkt. 1 (M.D. Fla.
 April 7, 2006), http://ecf.flmd.circ11.dcn.
         19

 The Receiver conceded at the hearing that the allegations contained in the SEC action
 applied to the instant cases. Further, the instant complaints reference the SEC action as
 the source and basis for the authority asserted. See, e.g., Wiand v. Schnall, 8:06-cv-706-
 T-23MSS, Dkt. 5 ¶ 2 (M.D. Fla. June 6, 2006), http://ecf.flmd.circ11.dcn.

              The Court:       What is the allegation of the SEC in the SEC
                               proceedings?
              The Receiver:    The SEC said that they were being - - all entities
                               were being operated as a Ponzi scheme and that
                               is probably so.
              The Court:       There is no way to divorce, though, this case from
                               the allegation of the SEC in whose shoes the

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 Compl. ¶ 8) In fact, in its complaint, the SEC alleged that after W axenberg’s suicide,

 it was unclear who, if anyone, was in control of the Defendants. (SEC Compl. ¶ 4)

 According to the SEC complaint, the Defendants diverted or misappropriated

 investors’ funds to Defendants HKW Trading Fund I, LLC and the Estate of Howard

 W axenberg. (SEC Compl. ¶ 2) The Defendants falsely represented to investors

 that they were running a successful day-trading operation and falsely claimed to

 investors they were earning a quarterly net investment return of approximately 5%

 or approximately 20% annually. (SEC Compl. ¶ 3, 18) However, the Defendants

 materially overstated the amount of these returns and the value of the individual

 investors’ accounts. (SEC Compl. ¶ 3) These fraudulently overstated returns duped

 investors into purchasing more securities from the Defendants. (SEC Compl. ¶ 17)

       Actually, the Defendants were running a Ponzi scheme using new investors’

 capital contributions, not actual earnings, to pay investors. (SEC Compl. ¶ 20)

 Beginning at least in 2002, Defendants Howard W axenberg Trading, LLC, HKW

 Trading, LLC and Downing & Associates Technical Analysis, directly and indirectly,

 knowingly, willfully or recklessly: (a) defrauded investors; (b) made untrue


                              receiver stands to pursue the claims through the
                              SEC proceedings on behalf of the entities.
          The Receiver:       You are absolutely correct, Your Honor.
          The Court:          So, whatever the SEC said they were is what they
                              are.
          The Receiver:       That is true, Your Honor . . . (proceeded to assert
                              argument for Scholes’ cleansing)

 (Tr. 20-21)

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 statements of material facts; and/or (c) engaged in acts, practices and courses of

 business as a fraud upon the purchasers of securities. (SEC Compl. ¶ 27) On April

 25, 2006, the Receiver agreed to the permanent injunctive relief demanded by the

 SEC which enjoined all of the Defendants/Receivership Entities based on their

 alleged offenses and frauds. HKW Trading, LLC, 8:05-cv-1076-T-24MSS, Dkt. 81.

       In short, the Receivership Entities are alleged to have orchestrated the

 wrongdoing and no wrongdoing is alleged against these Defendants. See Edwards,

 437 F.3d at 1152; Jonathon Roberts Fin. Group, 2002 WL 31431484, at *7. As

 such, as applied here, the doctrine of in pari delicto stands as a bar to the unjust

 enrichment claim asserted. See Quiller v. Barclay’s American/Credit, Inc., 727 F.2d

 1067, 1069 (11th Cir. 1984) (stating that a court may dismiss a complaint when an

 affirmative defense is clear from the face of the complaint).

       As noted supra, if an action is dismissed it should generally be dismissed

 without prejudice. If, however, it is so clearly established that the plaintiff cannot,

 with leave to amend, cure the legal defects, leave to amend would be futile and the

 action should be dismissed with prejudice. Stevens, 215 F.3d at 1239-40; See, e.g.,

 Freeman, 865 So. 2d at 553 (affirming dismissal with prejudice under Fed. R. Civ.

 P. 12(b)(6)); Knauer, 348 F.3d at 238 (affirming dismissal with prejudice).

       For the foregoing reasons, the Undersigned recommends that Count II be

 DISMISSED with prejudice.




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       B.     Whether the Receiver is Entitled to a Disgorgement of Unlawful
              Profits.

       In the third count in his complaints, the Receiver attempts to assert a separate

 claim for disgorgement of profits. Disgorgement is an “equitable remedy designed

 to deprive a wrongdoer of his unjust enrichment.” SEC v. First City Fin. Corp., 890

 F.2d 1215, 1231 (D.C. Cir. 1989).       Its primary purpose is not to punish the

 wrongdoer but to ensure that those guilty of fraud do not profit from their ill-gotten

 gains. See SEC v. Bilzerian, 814 F. Supp. 116, 120 (D.C. Cir. 1993); SEC v. W ang,

 944 F.2d 80, 85 (2d Cir. 1991). In determining the disgorgement amount, “‘ it is

 proper to assume that all profits gained while defendants were in violation of the law

 constituted ill-gotten gains.’” SEC v. Chemical Trust, No. 00-8015-CIV, 2000 W L

 33231600, at *11-12 (S.D. Fla. December 19, 2000) (quoting Bilzerian, 814 F. Supp.

 at 120).

       Here, Defendants correctly point out that the Receiver’s disgorgement claim

 must fail as a matter of law because disgorgement is not an independent cause of

 action. It may be a remedy for a viable cause of action at common law or, in some

 circumstances, is provided as a statutory remedy for certain claims. See Abbott Lab.

 v. Unlimited Beverages, Inc., 218 F.3d 1238, 1242 (11th Cir. 2000) (stating that

 disgorgement of profits is a remedy under the Lanham Act, 15 U.S.C. § 1117(a)).

 Additionally, the Receiver does not allege Defendants committed any wrongdoing

 or profited from a wrongdoing on their part.        Rather, the complaints identify



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 W axenberg and the Receivership Entities as the perpetrators in the Ponzi scheme.

 The only basis for a request of disgorgement is the Receiver’s unjust enrichment

 claim if it can be sustained. As the Receiver’s request for disgorgement of profits

 hinges on the success of the Receiver’s unjust enrichment claim, the Undersigned

 recommends Count III brought on behalf of the remaining Receivership Entities be

 DISMISSED with prejudice as a stand alone count.

 VII.   CONCLUSION

        Having reviewed the claims, the Undersigned respectfully REPORTS and

 RECOMMENDS that Defendants’ Motions be GRANTED:

        1.     With prejudice as to all counts brought on behalf of the Estate of

               W axenberg and Downing & Associates Technical Analysis;

        2.     Without prejudice as to Count I (FUFTA)20 brought on behalf of the

               remaining Receivership Entities;

        3.     With prejudice as to Count II (unjust enrichment) brought on behalf of

               the remaining Receivership Entities; and,

        4.     With prejudice as the Count III (disgorgement of profits) brought on

               behalf of all parties as a stand alone claim.



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 While it seems implausible that the Receiver will be able to attain the status of a creditor
 under FUFTA by the Receiver’s filing of amended complaints consistent with Fed. R. Civ.
 P. 11, the Eleventh Circuit has directed that, unless facially futile, a district court allow a
 plaintiff one opportunity to cure any defects in the complaint. See Stevens, 215 F.3d at
 1239-40.

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         In issuing this Report and Recommendation, the Undersigned is mindful of the

 claimed losses sustained by other victims of W axenberg and the Receivership

 Entities’ scheme.    The Court is also aware of the potential convenience and

 efficiency of allowing the Receiver, at the expense of the receivership rather than the

 victims at their personal expense, to pursue funds to help equalize the victims’

 losses. Even so, the Receiver’s actions, however laudable, cannot proceed without

 proper legal footing. Moreover, the Undersigned’s Report and Recommendation

 does not foreclose the individual investors/victims of W axenberg’s fraud from

 recovering funds from or asserting claims against the Receivership Entities or others

 if legal or equitable bases exist for such claims.

         Respectfully RECOMMENDED in Tampa, Florida on this 12th day of January

 2007.




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                               NOTICE TO PARTIES

       Per the Court’s directive at the hearing on the Motions, the time for filing any

 objections to this Report and Recommendation is extended. Failure to file written

 objections to the proposed findings and recommendations contained in this Report

 within twenty (20) days from the date of its filing shall bar an aggrieved party from

 attacking the factual findings on appeal. See 28 U.S.C. § 636(b)(1).

 Copies furnished to:

 Presiding District Court Judge
 Counsel of Record
 Unrepresented Parties




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